                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA


In re:                                               Chapter 7

Melissa Jo Olsson,                                   Case No.: 17-60602
Erik Harry Olsson,

                                 Debtor(s).


                            ORDER GRANTING RELIEF FROM STAY


         This case is before the court on the motion of Wells Fargo Bank, N.A. for relief from the

automatic stay imposed by 11 U.S.C. § 362(a).

         Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to

warrant relief.

         IT IS ORDERED:

         1.       The motion for relief from stay is granted as follows.

         2.       The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that the

movant may exercise its rights and remedies under applicable nonbankruptcy law with respect to

the following property:

         The following described property:
         The North 710.00 feet of the Northwest Quarter of the Northwest Quarter of Section 24,
         Township 35, Range 29, Sherburne County, Minnesota lying West of the East 613.41 feet
         of said Northwest Quarter of the Northwest Quarter.
         And
         The North 710.00 feet of the East 613.41 feet of the Northwest Quarter of the Northwest
         Quarter of Section 24, Township 35, Range 29, Sherburne County Minnesota.
         Less and except:


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     The North 710.00 feet of the East 613.41 feet of the Northwest Quarter of the Northwest
     Quarter of Section 24, Township 35, Range 29, Sherburne County, Minnesota.
     Subject to that certain mortgage dated March 31, 2011, and recorded in the Office of the
     Sherburne County Recorder on April 8, 2011, as Document Number 729867.

     3.     Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this order is effective immediately.


DATED:    January 30, 2018                         /e/ Michael E. Ridgway
                                                  ______________________________
                                                  Michael E. Ridgway
                                                  United States Bankruptcy Judge




                                                    NOTICE OF ELECTRONIC ENTRY AND
                                                    FILING ORDER OR JUDGMENT
                                                    Filed and Docket Entry made on01/30/2018
                                                    Lori Vosejpka, Clerk, by AMM




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